











					 





In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-02-00263-CR

____________


PATRICK EUGENE MALLEY, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 179th District Court

Harris County, Texas

Trial Court Cause No. 888765






O P I N I O N

	Appellant pleaded guilty to felony driving while intoxicated and true to two
enhancement paragraphs that alleged prior convictions for murder and felon in
possession of a firearm.  In accordance with a plea bargain agreement with the State,
appellant was sentenced to 25 years confinement.  Appellant filed a timely notice of
appeal.  We dismiss the appeal for lack of jurisdiction.

	Appellant filed a general notice of appeal that did not comply with the
requirements of Rule 25.2(b)(3) of the Texas Rules of Appellate Procedure in that it
did not state that the appeal was for a jurisdictional defect, that the substance of the
appeal was raised by written motion and ruled on before trial, or that the trial court
granted permission to appeal.  See Tex. R. App. P. 25.2(b)(3).  Appellant may not now
file an amended notice of appeal to correct jurisdictional defects.  State v. Riewe, 13
S.W.3d 408, 413-14 (Tex. Crim. App. 2000).

	The Court of Criminal Appeals held that an appellate court is without
jurisdiction in felony cases such as the present one in which: (1) the defendant
entered a plea of guilty or no contest based on a plea bargain agreement; (2) the trial
court followed the agreement in assessing punishment; and (3) a general notice of
appeal was filed.  See White v. State, 61 S.W.3d 424, 429 (Tex. Crim. App. 2001);
Cooper v. State, 45 S.W.3d 77, 83 (Tex. Crim. App. 2001).

	We also note that appellant waived his right to appeal if the trial court
followed the plea bargain agreement.  See Buck v. State, 45 S.W.3d 275, 278 (Tex.
App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM


Panel consists of Chief Justice Schneider, and Justices Taft and Radack.

Do not publish.   Tex. R. App. P. 47.


